                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )      Case No. 1:25-mj-00036
v.                                                  )
                                                    )      U.S. Magistrate Judge Steger
ELVIS VASQUEZ-ZAMORANO                              )

                              MEMORANDUM AND ORDER

       ELVIS VASQUEZ-ZAMORANO (“Defendant”) came before the Court for an initial
appearance on February 13, 2025, in accordance with Rule 5 of the Federal Rules of Criminal
Procedure on the Criminal Complaint ("Complaint") supported by an Affidavit [Doc. 1]. The
hearing was conducted with the assistance of a Spanish Interpreter, Carola Lehmacher-Richez.

        After being sworn in due form of law, Defendant was informed of his privilege against
self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
the United States Constitution.

        The Court determined Defendant wanted to be represented by an attorney and that he
qualified for the appointment of an attorney to represent him at government expense.
Consequently, the Court APPOINTED Attorney Perry Piper to represent Defendant.

        Defendant was furnished with a copy of the Complaint and the Affidavit, and had an
opportunity to review those documents with his attorney. The Court determined that Defendant
was able to read and understand the Complaint with the assistance of his counsel and the
interpreter. In addition, AUSA Russ Swafford explained to Defendant the specific charges
contained in the Complaint. Defendant acknowledged that he understood the charges in the
Complaint.

        The Government moved Defendant be detained pending disposition of the Complaint or
further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
detention hearing and what those hearings entail. Defendant conferred with his counsel and
requested a preliminary hearing, but waived a detention hearing. The Court scheduled the
preliminary hearing on February 26, 2025, subject to the caveat that the preliminary hearing will
be canceled in the event Defendant is indicted on the charge in Complaint prior to that date.




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      It is, therefore, ORDERED that:

           1. Defendant shall be DETAINED WITHOUT BAIL pending disposition
              of the Complaint or further order of this Court.

           2. The Court shall conduct a preliminary hearing on February 26, 2025, at
              2:00 p.m., subject to the caveat that the preliminary hearing will be
              canceled in the event Defendant is indicted on the charges in the
              Complaint prior to that date.

           3. In the event Defendant is indicted by the Grand Jury prior to February
              26, 2025, the Court will conduct an arraignment on such date at 2:00
              p.m.

      SO ORDERED.

                                         /s/ Christopher H. Steger
                                         UNITED STATES MAGISTRATE JUDGE




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